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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            8:13-CR-244

vs.
                                                           ORDER
LUIS MEZA-GALVEZ,

                  Defendant.

      This matter is before the Court on the defendant's motion to proceed on
appeal in forma pauperis. Filing 399. Defense counsel states that the
defendant is not able to afford to pay for the costs of an appeal. This is
confirmed by the facts contained in the presentence investigation report.
Therefore, the defendant's motion (filing 399) is granted, and the defendant is
permitted to proceed on appeal in forma pauperis.

      Dated this 20th day of January, 2015.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
